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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

 Criminal Action No. 18-cr-00293-RBJ-1

 UNITED STATES OF AMERICA

 v.

 JOHN VAN WU

        Defendant


                          DECLARATION OF STACY COLLINS


 I, Stacy Collins, pursuant to 28 U.S.C. § 1746, and based upon my personal knowledge

 and information made known to me from official records reasonably relied upon by me

 in the course of my employment, hereby make the following declaration relating to the

 above entitled matter. All records attached to this declaration are true and accurate

 copies of Bureau records maintained in the ordinary course of business.

        1.     I am the Associate Warden overseeing Operations at the Federal Bureau

 of Prisons (“Bureau”) Federal Correctional Institution (“FCI”) in Littleton, Colorado,

 known as FCI Englewood. I have been employed in this capacity since April 2019.

 Since March 2001, I have been employed by the Bureau in positions of increasing

 responsibility. In my role as Associate Warden at FCI Englewood, I provide guidance,

 support, and direction to the Health Services, Financial Management, Trust Fund,

 Safety, and Facilities departments to ensure overall compliance with Bureau policies,

 procedures and federal law.




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        2.     As part of my official job duties, I have access to records maintained in

 the ordinary course of business by the Bureau, including records concerning the

 operation of FCI Englewood, information maintained in the SENTRY 1 database, the

 Bureau Electronic Medical Record (“BEMR”) database, and inmate central files.

        3.     With respect to COVID-19 specifically, I am involved on a daily basis in

 the identification, planning, and implementation of all Bureau directives for preventing

 the spread of COVID-19 at FCI Englewood. Through the course of my official duties, I

 have personal knowledge regarding the numerous measures, discussed in turn below,

 that have been implemented both Bureau-wide and at FCI Englewood in order to

 contain, mitigate, and manage the spread of COVID-19.

        4.     The statements I make hereinafter are made based on my review of the

 official files and records of the Bureau, my own personal knowledge, or based on

 information acquired by me through the performance of my official duties.

 I.     NATIONAL STEPS TAKEN BY THE BUREAU TO ADDRESS COVID-19 2

        5.     In response to the pandemic, the Bureau has taken significant measures

 to protect the health of inmates in its charge. These steps include, but are not limited

 to the following:




 1 SENTRY is the Bureau’s national database, which tracks various data regarding an inmate’s
 confinement, including, but not limited to, an inmate’s institutional history, sentencing
 information, program participation, administrative remedies, and discipline history.
 2 The Bureau’s national guidance has undergone a number of changes in response to the
 evolving threat. The Bureau has established a COVID-19 resource section on its public webpage,
 which is available at: https://www.bop.gov/coronavirus/. This webpage includes updates on the
 Bureau’s response to COVID-19 and positive COVID-19 tests among inmates and staff at
 Bureau institutions nationwide.

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               a.     Beginning August 5, 2020, the Bureau implemented Phase Nine of

 the Nationwide Action Plan, which includes an extension of previously disseminated

 guidance and currently governs operations. The current modified operations plan

 allows for limited group gathering with extra attention to social distancing to the extent

 possible, to facilitate commissary, laundry, showers, telephone, and computer access.

 Additionally with Phase Nine, Evidence-Based Recidivism Reduction Programs and

 Productive Activities will resume with social distancing modifications.

               b.     All staff and inmates have been and will continue to be issued

 appropriate face coverings, and are required to wear the face covering when in public

 areas when social distancing cannot be achieved.

               c.     Every newly admitted inmate is screened for COVID-19 and tested

 by Quest commercial lab for COVID-19. Asymptomatic inmates are placed in

 quarantine status for fourteen days with twice-daily temperature checks and twice-daily

 screening of signs and symptoms. Symptomatic inmates are placed in isolation until

 they test negative for COVID-19 as directed by CDC guidelines. Additionally, all staff

 are screened for signs and symptoms prior to entering the institution. Any staff

 member registering a temperature of 100.4 degrees Fahrenheit or higher are not

 permitted beyond the screening site.

               d.     Contractor access to Bureau facilities is restricted to only those

 performing essential services (e.g. medical or mental health care, religious, etc.) or

 those who perform necessary maintenance on essential systems. All volunteer visits

 have been suspended, unless authorized by the Deputy Director of the Bureau of



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 Prisons. Any contractor or volunteer who requires access are screened for symptoms

 and risk factors.

               e.     Social visits were stopped on March 13, 2020, and remain

 suspended to limit the number of people entering the facility and interacting with

 inmates. In order to ensure familial relationships are maintained throughout this

 disruption, the Bureau of Prisons has increased inmate telephone allowance to 500

 minutes per month. Tours of facilities are also suspended. Legal visits may be

 permitted on a case-by-case basis after the attorney has been screened for infection in

 accordance with the screening protocols in place for prison staff, contractors, and

 visitors. Video legal visits are utilized when possible.

               f.     In addition to the Bureau’s official Action Plans, on March 11, 2020,

 the Bureau activated its “Incident Command System,” commonly referred to as a

 Command Center, at Central Office in Washington, D.C., in response to the COVID-19

 pandemic. The Incident Command System is a standardized, all-hazard incident

 management tool. The Bureau has used the Incident Command System in the past to

 address other disruptive events, such as fires, human and animal disease outbreaks,

 and hazardous materials incidents.

               g.     By means of the Incident Command System, the Bureau works to

 mitigate the health and safety risks of COVID-19 by providing accurate information to all

 Bureau institutions, holding Bureau institutions accountable for abiding by Bureau

 directives and guidance, and coordinating the Bureau’s national response.




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                 h.     Further details and updates pertaining to the Bureau of Prison’s

 modified operations are available to the public on the Bureau website on a regularly

 updated resource page. 3.

 II.      Steps Taken at FCI Englewood to Address COVID-19

          6.     In addition to the steps taken at the national level, FCI Englewood itself

 has also taken a number of additional measures in response to the COVID-19

 pandemic.

 III.     FCI Englewood Command Center

          7.     On March 13, 2020, FCI Englewood activated its local Command Center.

 The local Command Center, in conjunction with the National Command Center,

 monitors, plans, and implements national directives and other procedures at FCI

 Englewood.

          8.     In addition to the special rules limiting inmate movement discussed above,

 FCI Englewood has taken many other steps to prevent the introduction and spread of

 COVID-19. Those steps include providing inmate and staff education, conducting

 inmate and staff screening, implementing testing, quarantine, and isolation procedures,

 and ordering enhanced cleaning, testing, and medical supplies, among other

 preventative measures.

 IV.      Inmate and Staff Education relating to COVID-19

          9.     From the outset of the COVID-19 pandemic, FCI Englewood officials have

 provided regular updates to inmates and staff regarding the virus and the Bureau’s



 3
     : www.Bureau.gov/coronavirus/index.jsp

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 response to the situation. The officials have educated inmates and staff regarding

 measures that they themselves should take to stay healthy.

        10.    The Executive Staff—including the Warden, Associate Warden, and

 Captain—conduct town hall meetings, weekly rounds and/or disseminate inmate

 bulletins. During these times, inmates receive instruction about all aspects of

 COVID-19, including how to identify symptoms, how to prevent the virus from spreading

 (including through good personal hygiene), and the need to immediately report

 symptoms to medical providers. Informational handouts are posted in locations

 throughout FCI Englewood, including in inmate housing units and in places where they

 can be easily seen by institution staff. See Att. 1, CDC COVID-19 Stop the Spread of

 Germs Factsheet. Inmates also receive this information by means of information

 bulletins posted on TRULINCS, in both English and Spanish.

        11.    FCI Englewood staff have also been educated about how to prevent the

 introduction and spread of COVID-19, including the importance of frequent hand

 washing, not touching their face, maintaining appropriate social distancing, and

 cleaning and disinfecting all equipment, including their uniforms. Additional hand

 sanitizer stations have been placed for their use.

 V.     Screening for COVID-19 at FCI Englewood

        12.    The following screening measures for both inmates and staff are currently

 in place and will remain in effect even after the stay-in-shelter order is lifted, until

 Bureau officials have made a determination that COVID-19 no longer poses a threat.




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 VI.    Inmates

        13.   FCI Englewood began screening incoming inmates for COVID-19 on

 March 19, 2020. All newly arriving inmates to FCI Englewood are screened

 immediately upon their arrival. All inmates are medically screened by the Health

 Services Department. The medical providers conduct an initial screening in a

 designated area at FCI Englewood separate from other staff and inmates. The

 medical providers wear personal protective equipment, or “PPE,” during the screening

 process. All inmates designated and arriving to FCI/FPC/FDC Englewood are tested

 for COVID 19, and placed in quarantine for 14 days. Around the 14th day, the inmates

 are retested, and are not released from quarantine until the results of the second test is

 received.

        14.   The inmate is evaluated for symptoms of COVID-19 (including fever,

 cough, and shortness of breath), as well as for “exposure risk factors,” including

 whether the inmate has traveled from, or through, any locations identified by the CDC

 as increasing epidemiologic risk within the past 14 days, or has had close contact with

 anyone diagnosed with COVID-19 in the past 14 days.

        15.   Following this initial screening, the inmate is escorted to the unit in the

 prison that has been designated as the isolation/quarantine unit, where all inmates and

 staff are required to wear a surgical mask and all medical staff members must wear

 PPE.

        16.   If the inmate does not have symptoms or risk factors, he is tested for

 COVID-19, and quarantined for 14 days. During this period, he is checked twice daily

 for signs, symptoms, and temperature, to ensure he does not develop any symptoms

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 consistent with COVID-19. If the inmate does have symptoms or risk factors, or if he

 has a pending COVID-19 test, he will be placed in an isolation cell. In all areas of the

 quarantine/isolation unit, all staff must wear PPE and all inmates must wear a surgical

 mask. Inmates on quarantine and isolation status are not celled together. Their cells

 are in the same physical plant, though the air handlers have been adjusted to reduce

 the risk of air transfer between adjacent cells.

           17.   After the expiration of 14 days, and upon medical clearance, inmates are

 released into the general population.

           18.   This process ensures inmates are screened in a controlled environment,

 so the rest of the inmate population is not exposed to a newly arrived inmate until he

 has been properly screened and cleared by Health Services Department medical

 providers.

           19.   FCI Englewood has also taken steps to screen its current resident inmate

 population.

           20.   The Health Services Department follows current CDC guidance in caring

 for individuals at FCI Englewood who are considered “high risk.” These guidelines can

 be found at:

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/groups-at-higher-ris

 k.html.

 Per CDC guidance, “high-risk” individuals include those over 65 and those with

 significant underlying medical conditions, such as chronic lung disease, moderate to

 severe asthma, liver disease, and diabetes. Id.



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        21.    FCI Englewood is also conducting enhanced screening for all inmates with

 ongoing work details, such as food service and cleaning orderlies, deemed essential

 functions. Each inmate orderly is screened for illness before and after each assigned

 work detail, including screening for symptoms and having their temperature taken. As

 a further precaution, most cleaning orderlies are assigned only to the units in which they

 reside, thus limiting their contact with inmates in other housing units.

        22.    All inmates are encouraged to self-monitor and to report symptoms of

 illness to FCI Englewood staff. Inmates have multiple opportunities, every day, to

 speak with medical providers. The Health Services Department is staffed with a full

 complement of medical providers who go to each housing unit at least twice every day

 to conduct sick call and pill line. In addition, unit staff and other department

 representatives (including staff from education, commissary, psychology, and

 recreation) are required to conduct regular rounds in each housing unit to ensure the

 inmate population remains safe and healthy. An inmate can speak with any of these

 staff members, or bring concerns to staff’s attention by means of a written request, or

 “cop-out”.

        23.    FCI Englewood Health Service’s medical providers are prioritizing

 immediate medical care for anyone who claims symptoms indicative of a COVID-19

 infection. An inmate with symptoms consistent with COVID-19 will be evaluated by a

 medical provider in the Health Services Department. Based upon that evaluation, a

 determination will be made as to whether isolation and/or testing is appropriate. If an

 inmate is deemed appropriate for isolation, the inmates in his housing will be



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  quarantined for a period of the sooner of 14 days or pending results of a COVID-19

  test.

          24.   An inmate may also be placed in quarantine or isolation if he is exposed

  to a person with COVID-19, where he will be tested and monitored daily for a period of

  at least 14 days. Quarantine or isolation will only be discontinued upon receiving

  negative results from the second COVID-19 test around the 14th day of isolation or

  quarantine and contingent upon the inmate not developing new symptoms.

          25.   If there is a positive inmate case of COVID-19 at FCI Englewood that

  inmate will be placed in an isolation cell and be screened daily by Health Services for

  symptoms and appropriate care.

          26.   All inmates have access to sinks, water, and soap at all times. Newly

  arriving, and currently housed inmates at the FCI/FDC/FPC Englewood automatically

  receive soap, and all inmates may receive new soap weekly. For inmates without

  sufficient funds to purchase soap in the commissary, soap and other hygiene items are

  provided at no cost to the inmate. FCI Englewood inmates’ clothing and linens are

  sent to be washed twice weekly.

          27.   All common areas in inmate housing units are cleaned at least once daily,

  and are typically cleaned by inmate orderlies multiple times throughout the day, with a

  designated disinfectant known to kill human coronavirus. FCI Englewood has made

  this disinfectant available to all inmates so that they may clean their own living areas on

  a regular basis. Common areas outside inmate living areas, including the FCI

  Englewood lobby, bathrooms, cafeteria, etc., are also cleaned with the same

  disinfectant on a daily basis, and often multiple times per day.

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         28.    Each housing unit has been stocked with cleaning supplies for use by

  inmate orderlies and other inmates to clean both the common areas and their individual

  housing areas on a daily basis.

  VII.   STAFF AND VISITORS

         29.    Since March 19, 2020, all individuals entering FCI Englewood (including

  staff, delivery drivers, or any other visitors) are directed to a single point of entry.

  Every person entering the institution must undergo a health screening. The screening

  consists of a questionnaire to evaluate their risk of exposure, as well as to determine

  whether they have been experiencing any symptoms of illness, in addition to having

  their temperature taken.

         30.    The persons conducting this health screening are authorized to deny entry

  to any individual if he or she has a body temperature of 100.4 degrees Fahrenheit or

  above, or reports other symptoms consistent with COVID-19.

         31.    This screening applies to all staff and visitors, including those who leave

  the grounds of FCI Englewood even for a short duration of time, such as a lunch break.

         32.    FCI Englewood employees have also been educated on the importance of

  staying home if they are feeling ill, and are required to self-report any COVID-19

  exposure (known or suspected) as well as any positive COVID-19 test. If a staff

  member is tested for COVID-19, they are not permitted to return to work until they have

  received negative test results.

         33.    FCI Englewood has limited the number of in-person, onsite staff meetings.

   If such meetings take place, they are limited to 10 people and must be conducted in

  areas that allow individuals to maintain an appropriate distance from one another.

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          34.   Correctional staff are required to disinfect all common equipment, such as

  keys and radios, upon obtaining these items from the supply room and again upon their

  return. Staff also have regular, consistent access to soap and hand sanitizer.

          35.   Correctional staff are provided with protective equipment to be used in

  appropriate locations throughout FCI Englewood such as quarantined areas, isolation

  units, and screening sites. FCI Englewood has sufficient PPE on hand, including N-95

  respirator masks, surgical masks, and rubber gloves, to meet its current and anticipated

  needs. It has the ability to order additional PPE should the need arise.

          36.   On April 6, 2020, all inmates and staff were provided protective face

  coverings, which are replaced as needed. New face coverings are provided to inmates

  releasing to the community.

          37.   The measures described above have been effective in maintaining the

  safety of inmates and staff at FCI Englewood.

  VIII.   COVID-19 Testing at FCI Englewood

          38.   At FCI Englewood, the decision whether to test an inmate for COVID-19 is

  made by Bureau medical providers based on a number of criteria, including but not

  limited to: (1) the nature and severity of the symptoms; (2) the inmate’s potential

  exposure to COVID-19; and (3) whether the inmate is considered “high-risk.”

          39.   As of today’s date, no inmates at either the FCI or FPC Englewood have

  tested positive for COVID-19.

          40.   One FCI Englewood staff member did test positive and has recovered

  from the virus. All inmates identified as having close contact with that staff member

  were isolated, tested and subsequently found to be negative for the virus.

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  IX.    Federal Inmate John Van Wu

         41.    Inmate John Van Wu, Register Number 44803-013, is incarcerated at the

  Federal Prison Camp, FCI Englewood in Littleton, Colorado. See Att. 2, SENTRY

  Public Information Inmate Data at 1. Inmate Wu’s current projected release date is

  November 23, 2022, via good conduct time release. Id. Inmate Wu has served

  approximately 35.8 percent of his sentence with good conduct time earned and 30.5

  percent of his full term. Id. at 3.

         42.    Inmate Wu arrived at FPC Englewood on October 22, 2019. Upon arrival

  he was medically screened by the Health Service Department.




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        46.   Inmate Wu filed a request for Compassionate Release/Reduction in

  Sentence or Home Confinement under pre-CARES Act standards with the FCI

  Englewood Warden on April 13, 2020. See Att. 4, Electronic Inmate Request to Staff

  and Response at 1-2.

        47.   On April 29, 2020 the Warden denied his request. Id at 3. In the

  Warden’s response, inmate Wu was advised he may appeal the Warden’s decision

  through the Bureau’s Administrative Remedy Program. Id.

  X.    The Bureau’s Authority to Place inmates on Home Confinement

        48.   The Bureau’s statutory authority to transfer prisoners to home

  confinement rests in 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. The Bureau’s

  policy and procedures regarding home confinement are outlined in Program Statement

  7320.01, Home Confinement, and Bureau Operations Memorandum, Home



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  Confinement under the First Step Act, both of which are available on www.bop.gov via

  the Resources tab. Both statutes set forth certain limitations with respect to the

  Bureau’s transfer authority. See 18 U.S.C. § 3624(c)(2) and 34 U.S.C. § 60541. The

  Attorney General’s directives in light of the COVID-19 pandemic, dated March 26, 2020,

  and April 3, 2020, infra, and given the surge in positive cases at select sites, the Bureau

  began immediately reviewing all inmates who have COVID-19 risk factors, as described

  by the CDC to determine which inmates are suitable for home confinement. Since the

  release of the Attorney General’s original memorandum dated March 26, 2020, the

  BOP is prioritizing transfers to home confinement of all suitable inmates as an

  appropriate response to the COVID-19 pandemic.

         49.    The CARES Act authorized the Attorney General to expand the group of

  inmates who can be considered for home confinement upon a finding that emergency

  conditions are materially affecting the function of the Bureau. On April 3, 2020, the

  Attorney General made that finding and authorized the Director of the Bureau to

  immediately maximize transfers to home confinement of all appropriate inmates held at

  FCI Oakdale, FCI Danbury, FCI Elkton, and other similarly situated BOP facilities where

  COVID-19 is materially affecting operations.

         50.    The Bureau’s Central Office has promulgated criteria for determining

  whether, in light of the CARES Act and the Attorney General’s directives, an inmate is

  eligible for home confinement. To be eligible, the inmate must have: (1) a primary

  offense that is not violent, not a sex offense, and not a terrorism offense; (2) no

  detainer; (3) a mental health care level less than 4; (4) a PATTERN risk score of

  minimum; (5) a BRAVO, or custody classification, score of low or minimum; and (6) had

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  no incident reports in the past twelve months. A “PATTERN” score evaluates the

  inmate’s risk of recidivism.

         51.    Based on these criteria, 30 inmates at FCI Englewood were identified by

  the Bureau’s Central and Regional Offices as potentially eligible for home confinement.

         52.    Inmate Wu was not on the list because he has not served 50 percent of

  his sentence. See Att. 2, SENTRY Public Information Inmate Data at 3.

  XI.    Bureau Administrative Remedy Program

         53.    I am familiar with all four levels of the inmate administrative grievance

  procedure created by the Bureau Administrative Remedy Program. See 28 C.F.R. §§

  542.10 - 542.19.

         54.    The Bureau has a four-tiered Administrative Remedy Program for inmate

  grievances, which is codified at 28 C.F.R. § 542.10 et seq. The first step is informal

  resolution with prison staff. 28 C.F.R. § 542.13(a). Requests for Informal Resolution

  Forms (also known as a BP-8) are not assigned a Remedy ID number and are not

  tracked. The second step is the filing of a formal Request for Administrative Remedy

  (also known as a BP-9) at the institution in which the inmate is incarcerated. See 28

  C.F.R. § 542.14. If the inmate feels the response to his BP-9 is not satisfactory, within

  20 calendar days of the date the Warden signed the response, the inmate may then

  appeal the complaint to the Regional Director, by filing a Regional Office Administrative

  Remedy Appeal (also known as a BP-10). See 28 C.F.R. § 542.15(a). If dissatisfied

  with the Regional Director’s response, the inmate may appeal to the Director, National

  Inmate Appeals, in the Office of the General Counsel in Washington D.C., by filing a



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  Central Office Administrative Remedy Appeal (also known as a BP-11). Id. An inmate

  may not raise in an appeal an issue he did not raise in a lower level filing. See 28

  C.F.R. § 542.15(b)(2).

         55.    An inmate has not exhausted his administrative remedies until he has

  properly sought review at all three formal levels. Id.

         56.    Since July 1990, the Bureau has maintained information related to

  administrative complaints filed by inmates under the Bureau Administrative Remedy

  Program in SENTRY. One of the many functions of the SENTRY database is to track

  administrative remedy complaints and appeals, and it allows one to complete a

  computerized search of complaints and appeals filed by a specific inmate.

         57.    Each formal complaint (i.e. BP-9, BP-10, and BP-11) is logged into

  SENTRY at the receiving location. If the complaint is an initial filing, it receives a unique

  Remedy ID Number upon initial entry, which follows the complaint throughout the

  appeal process. Each Remedy ID Number also contains an extender that identifies the

  level of review. The extension F-1 indicates the complaint was filed at the institution

  level (BP-9). The extension R-1 indicates the complaint or appeal was filed at the

  regional level (BP-10). The extension A-1 indicates the appeal was filed at the national

  level (BP-11). So, for example, a formal complaint may be identified as 123456-F1

  when filed as a BP-9 at the institution level, as 123456-R1 when filed as a BP-10 at the

  regional level, and as 123456-A1 when filed as a BP-11 at the national level. That is,

  the unique Remedy ID number follows the complaint through the process but the

  extension changes to reflect the level at with the complaint is filed. The number at the

  end of the extension may change if the remedy or appeal is initially rejected and is then

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  re-filed due to a technical problem, such as improper form, failing to include

  documentation, or improper filing at that level (i.e., 123456-F1; 123456-F2, etc.).

         58.    On or about June 4, 2020 inmate Wu filed Remedy No. 1022925-F2, in

  which he contested the Warden’s denial of his request for compassionate

  release/reduction in sentence. See Att. 5, Admin. Remedy Case 1022925-F2 at 1.

  On June 26, 2020, this remedy was denied. Id. at 2.

         59.    As of August 4, 2020, inmate Wu had not submitted an Appeal to the

  Regional Director. See Att. 6, SENTRY Remedy Case Data 1022925.

         60.    On or about May 21, 2020, Wu filed Remedy No. 1020737-F2, in which

  he contests the denial of home confinement. See Att. 7, Admin. Remedy Case

  1020737 at 1. On June 4, 2020, this remedy was denied. Id. at 2. Wu was advised

  if he is not satisfied with this response, he may appeal to the Regional Director.

         61.    On or about June 15, 2020, Wu filed an appeal Remedy No. 1020737-R1

  to the Regional Director. Id at 6. On July 24, 2020, this appeal was denied. Id. At 9.

   Wu was advised if he is not satisfied with this response, he may appeal to the Office of

  General Counsel.

         62.    As of August 4, 2020, inmate Wu has not submitted an Appeal to the

  Office of General Counsel. See Att. 8, SENTRY Remedy Case Data 1020737.

         63.    Inmate Wu has not successfully sought review at all three formal levels in

  either of his Remedy Cases. Therefore, he has not properly exhausted the

  administrative remedy process in regards to home confinement or compassionate

  release/reduction in sentence.



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  XI.   Conclusion

            64.   In sum, the Bureau and FCI Englewood take the COVID-19 pandemic

  extremely seriously and have implemented numerous measures to proactively combat

  the spread of this disease to inmates and staff members. The various phases of the

  Bureau’s Action Plan has been designed and implemented in a careful and systematic

  manner, both nationally and at FCI Englewood in order to mitigate the spread of

  COVID-19.

            65.   In addition to the steps taken at the national level, FCI Englewood itself

  has taken a number of additional measures to prevent the introduction and spread of

  COVID-19 in the complex.

            66.   The Bureau and FCI Englewood remain flexible in their ability to receive

  guidance from the CDC and other health organizations and to modify their actions to

  best respond to the pandemic, according to the quickly shifting needs on the ground.

            67.   Inmates at FCI Englewood will continue to be assessed for their eligibility

  for home confinement.

            Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of perjury

  that the foregoing is true and correct to the best of my information, knowledge, and

  belief.

            Executed on this 6th day of August 2020, in Littleton, Colorado.



                                                     /s/________________________
                                                     Stacy Collins
                                                     Associate Warden
                                                     FCI Englewood
                                                     Federal Bureau of Prisons

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  Enclosures

        Att. 1 CDC COVID-19 Stop the Spread of Germs Factsheet.

        Att. 2 SENTRY Public Information Inmate Data.

        Att. 3 BEMR 07-27-2019 to 07-29-2020.

        Att. 4 Electronic Inmate Request to Staff and Response.

        Att. 5 Admin. Remedy Packet 1022925

        Att. 6 SENTRY Remedy Case Data 1022925

        Att. 7 Admin. Remedy Packet 1020737

        Att. 8 SENTRY Remedy Case Data 1020737




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          ATTACHMENT 1
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 22 of 45



 Stop the Spread of Germs
Help prevent the spread of respiratory diseases like COVID-19.


              6 ft
          Stay at least 6 feet                Cover your cough or sneeze with a
        (about 2 arms’ length)                tissue, then throw the tissue in the
          from other people.                      trash and wash your hands.




  When in public, wear a                                     Clean and disinfect
                               Do not touch your 
 cloth face covering over                                    frequently touched
                             eyes, nose, and mouth.
  your nose and mouth.                                      objects and surfaces.




    Stay home when you are sick,              Wash your hands often with soap
     except to get medical care.              and water for at least 20 seconds.



                                                             cdc.gov/coronavirus
                                                                          316917-A May 13, 2020 11:00 AM
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Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 25 of 45
Pages 26 through Case     1:18-cr-00293-RBJ
                 103 redacted for the following reasons:   Document 181-1 Filed 08/07/20 USDC Colorado Page 26 of 45
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                  Pages 26-103 REDACTED: MEDICAL RECORDS
Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 27 of 45
                                                                       Page 1 of 2



Christopher Wilkinson - Fwd: ***Request to Staff*** WU, JOHN, Reg# 44803013, ENG-C-
A


From:      ENG/lnmateToAWOperations
To:        Christopher Wilkinson
Date:      4/13/2020 8:43 AM
Subject:   Fwd : ***Request to Staff*** WU, JOHN, Reg# 44803013, ENG-C-A



FYI

>» -"!"WU, -" !JOHN VAN " <44803013@inmatemessage.com > 4/10/2020 5:37 PM >>>
To: Warden Greilick
Inmate Work Assignment: Compassion release

***ATTENTION ***

Please cut and paste the message indicator below into the subject line; only this indicator can be in the subject
line.
2e 1b0293 -ae69 -4460-b208-e0351 a5ff06c
Your response must come from the departmental mail box. Responses from personal mailboxes WILL NOT be
delivered to the inmate.

***Inmate Message Below***




Dear Warden Grelick,

I have send you a letter 9 days ago without response for Compassionate release and transfer to home
confinement. I forwarding this letter to you again along with Ms. Thomas, Mr. Tucker and Mr. Cedeno.

Thank you for your consideration.
God bless you,
John Van Wu
44803-013
-----WU, JOHN VAN on 4/10/2020 6:17 PM wrote:

>



Dear Ms. Thomas and Mr. Tucker,
   I am writing to you to seeking compassionate release and transfer to home confinement due to having Pre-
existing medical conditions rendering me susceptible to complications from COVID -19 virus pandemic infection.
My medical conditions includes chron ic lung Disease with Past TB infection and moderate to severe asthma with
hospitalization requiring emergency breathing treatments. I am currently increasing my asthma medication
dosage with Mometason Furoate 220 Meg to 3 times daily. I have been treated for severe Respiratory Infections
four times within last 6 months. My last Respiratory Infection was treated on February 5, 2020 with Bactrim




fil e:///C:/U sers/BOP 11780/ AppData/Local/Temp/XPgrpwise/5E942626ENGDOM1 ENGA. .. 4/27/2020
Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 28 of 45
                                                                       Page 2 of2


( Sulfamethoxazole/Trimeth 800/160 Mg), Ciprofloxacin 500 mg, Zithromax 250mg, and Prednisone 10mg by Dr.
Oba, Mr. Cordova, and Dr. Johnson. I am suffering with CAD heart disease with Hypertension, Hyperlipidemia ad
Type 2 Diabetes which I am currently manage with weightloss and diets. I am also having arthritis of the back
and right hip taking Ibuprofen 800Mg and Acetam inophen 650 Mg Daily.
    Attorney General William Barr memorandum to Director of B.O.P. on March 26, 2020 to give priority to inmate
held in Low or Minimum security facilities and those have not been involved in violence crimes with low pattern
scores; inmate who have shown good conduct, and have pre-existing medical condition that make them
particularly vulnerable to COVID- 19 to granting home confinement.
    While lncrcerated I have completed 7 Adult Continuation Education (ACE) classes. I have maintained
exemplary conduct throughout incarceration. I have volunteer to help other inmates in getting their GED
Certificate and tutoring inmates in re-entry program and participation in First Step Act program. My current
release plan is to return to my home to live with my wife and our four (4) young children at 810 Kachina Circle,
Golden, CO 80401 . I am currently have employment schedule with GSI Enterprises where I wi ll work from hoe
office to manage consulting and adm inistrave duties. I will have Insurance coverage throught cigna health
insurance coverage provide through my wife company. I am writingto pleading for your considerat ion during
these challenging time and release me to home confinement so I can take care my family.
Sincerely,
John Van Wu 44803 -013




fil e:///C:/U sers/BOP 11780/ AppData/Local/Temp/XPgrpwise/5E942626ENGDOM1 ENGA... 4/27/2020
Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 29 of 45




  INMATE Wu , John van
  Reg . No. 44803 - 013
  Unit Camp


  INMATE REQUEST TO STAFF MEMBER

  You requested a reduction in sentence (RIS) based on concerns
  about COVID-19. After careful consideration , yo u r reques t is
  denied .

  Title 18 of the United States Code , section 3582 (c) (1) (A) ,
  allows a sentencing court , on motion of the Director of the BOP,
  to reduce a term of imprisonment for extraordinary or compelling
  reasons.    BOP Program Statement No. 5050.50 , Compassionate
  Release/Reduct i on in Sentence : Procedures for Implementation of
  18 U.S . C. §§ 3582 (c) (1) (A) and 4205 (g) , provides guidance on the
  types of circumstances that present extraordinary or compelling
  reasons , such as the inmate ' s terminal medical condition ;
  debilitated med i cal condition ; status as a " new law " elderly
  inmate , an elderly inmate with medical conditions , or an " other
  elderly inmate "; the death or incapacitation of the family
  member caregiver of the inmate ' s child ; or the incapacitation of
  the inmate ' s spouse or registered partner . Your request has
  been evaluated consistent with this general guidance .

  The BOP is taking extraordinary measures to contain the spread
  of COVID- 19 and treat any affected inmates . We recognize that
  you , l i ke all of us , have legitimate concerns and fears about
  the spread and effects of the virus.      However , your concern
  about being potentially exposed to , or possibly contracting,
  COVID-19 does not currently warrant an early release fro m your
  sentence . Accordingly , your RIS request is denied at this time .

  If you are not satisfied with this response to your request , you
  may commence an appeal of this decision via the administrative
  remedy process by submitting your concerns on the appropriate
  form (BP - 9) within 20 days of the receipt of this response .




  B .--Greilick , Warden
            Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 30 of 45
    U.S.
    F" er
         DEPARTMENT
     ··d at B   r P . OF JUSTICE
                ureau o     nsons                                                                           ~c:rc:f2o :::a:;
                                                                                        REQUEST FOR ADMINISTRATIVE REMEDY


                          Type or use ball point pe11. If a1tach111e111s are needed , submit f our copies. Additio11ul in.wructions        011   reverse.

     From :     W lA , .:10HN V/rN                                               Y:fS 03           - 013              c-os
         • .          LASi1NAME, FIRST, 1"0DDLE lNJTIAL                                  REG. NO.                         UNIT

      Part A INMATE REQUEST
   I AM ftPPf::.Pr-L,Nt,                     -ro    BOP C.t+R€5    ,tC.7"' A-No p~tJrs.u+-tv1 s.-rA- 1€M~,,,,;-r
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fZ <;.So Li,<. ti O;J Pr 5 f/.J.,£7,fl..,A.A. L 1~ /'g 7 C...OtJ.JJS-<~ bl'L &f...oG-AIO / CA.!~ M A-,-.)A6t.~ tN1t...t</..X-..,:.n,._
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        140
                     DATE           ,v(;;.                                                                                                EQUESTER
      Part B- RESPONSE




                                                                                                                    CASE NUMBER: _ __ __ _ _ __
      Part C- RECElPT
     Return to:
                            LAST NAME, FIRST, MIDDLE 1N1TlAL                                   REG. NO.                        UNIT                    INSTITUTION
    SUBJECT:


                     DATE                                                                   RECIPIENT'S SIGNATURE (STAFF MEMBER)
                                                                                                                                                                   BP- 229(13)
      USP LVN                                                                                                                                                      APRIL 1982
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BP-229 RESPONSE                                  Case Number : 1022925-F2

This is in response to your request for Administrat i ve Remedy received on
June 8 , 2020 , wherein you appeal the denial of your request for a
Compassionate Release to Home Confinement due to t he COVID-1 9 pandemic .

Tit l e 18 of the United St ates Code , sect i on 3582 (c) (1) (A) , allows a
sentencing court , on motion of the Director of the BOP , to reduce a te r m of
imprisonment for extraordinary or compelling reasons . BOP Pr ogram Sta t ement
No . 5050 . 50 , Compassionate Release/Reduction in Sentence : Procedures for
Implementation of 18 U. S . C . §§ 3582 (c) (1) (A) and 4205(g) , p r ovides guidance
on the types of circumstances that present extraordinary or compell i ng
reasons , such as the inmate ' s terminal medi cal condition ; debilitated
medical condition ; status as a "new law" elderly inmate , an elderly inmate
with medical condit i ons , or an "other elderly inmate"; the death or
incapacitation of t h e family member caregiver of the inmate ' s child; or the
incapacitation of the inma t e ' s spouse or r egistered partner .

Addi tionally , current l aw and   r ecent guidance from the U. S . Attorney General
directs t h e Bureau of Prisons    to maximize the use of Home Confinement i n
appropriate cases, consistent      with Bureau of Prisons policy , the needs and
safety of each inmate, and in      consideration of the safe t y of the communi ty .

A review of this matter r evealed you have been not i fied in writing that you
do no t meet t he criteria for transfer to home confinement under the CARES
ACT or Compassionate Re l ease due to t h e following reasons :
   •   You did not provide any medical documentation indicating you have
       serious underlying medi cal con d i tion(s ) which puts you at a higher
       risk of contracting or becomin g severely i ll from COVID-19
   •   You have not served 50% or more of your sentence
   •   You did not provide a viable release plan

The BOP is taking extraordinary measures to contain the spread of COVID-19
and treat any affected inma t es . We recognize that you , like a l l of us , have
le gitimate conceros and fears about the spread and effects of the virus .
However , your concern about being potentially expo sed to , or possibly
contracti ng , COVID- 19 does not currently warrant an early release from you r
sentence. Accordingly , your RIS request is denied at this t i me .

If you are not satisfied with this response to your request , you may
commence an appeal of this de cision via the administrative r emedy process by
submitting your concerns on the appropriate form (BP-9) withi n 20 days of
the receipt of this response .



                                                   I    I
                                                 Date
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 32 of 45
  FLMCG         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     08-04-2020
PAGE 001 OF                                                        07:43:18
     FUNCTION: L-P SCOPE: CASE EQ 1022925        OUTPUT FORMAT: FULL
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 33 of 45
  FLMCG         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *      08-04-2020
PAGE 002 OF 002 *             FULL SCREEN FORMAT             *      07:43:18


REGNO: 44803-013 NAME: WU, JOHN
RSP OF...: ENG UNT/LOC/DST: CAMP                 QTR.: C05-001L    RCV OFC: ENG
REMEDY ID: 1022925-F1      SUB1: 13LC SUB2:      DATE RCV:    05-29-2020
UNT RCV..:CAMP           QTR RCV.: C05-004U      FACL RCV: ENG
UNT ORG..:CAMP           QTR ORG.: C05-004U      FACL ORG: ENG
EVT FACL.: ENG    ACC LEV: ENG 2                    RESP DUE:
ABSTRACT.: APPEALING FOR COVID-19 COMPASSIONATE RELEASE
STATUS DT: 05-29-2020 STATUS CODE: REJ STATUS REASON: INF RSF
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 05-29-2020
REMARKS..: YOU NEED TO SUBMIT YOUR COVID-19 COMPASSIONATE
           RELEASE REQUEST TO YOUR UNIT TEAM BEFORE SUBMITTING
           THROUGH THE APPEAL PROCESS.


REGNO: 44803-013 NAME: WU, JOHN
RSP OF...: ENG UNT/LOC/DST: CAMP                 QTR.: C05-001L   RCV OFC: ENG
REMEDY ID: 1022925-F2      SUB1: 13LC SUB2:      DATE RCV:   06-08-2020
UNT RCV..:CAMP           QTR RCV.: C05-001L      FACL RCV: ENG
UNT ORG..:CAMP           QTR ORG.: C05-004U      FACL ORG: ENG
EVT FACL.: ENG    ACC LEV: ENG 2                    RESP DUE: SAT 07-18-2020
ABSTRACT.: APPEALING FOR COVID-19 COMPASSIONATE RELEASE
STATUS DT: 06-26-2020 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 06-09-2020
REMARKS..:




                 2 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED
         Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 34 of 45
                                                                                            REQUEST FOR ADMINISTRATIVE REMEDY
     .
\_J.S. DEP.ARTMENT OF JUSTICE
         .

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           ,      of Prison, •                                                   1/   / S.T.~~                                               /~              J?Gl~'i,>e)

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                    I.AST NAME, ~' I RST , M IOOLE I N ITI A L                               REG . !',O .                        UNl'I                         I NST ITUT IO N

 Part A- 1:\ MATE REQUEST

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     ~       It i       2-, 1 I   z..o Zi)                                                                          L                                                        .
                    DATE

 Pa rt B- RESPONSE




                                                                                                                       WARDEN OR REGIONAL DI RFCTOR
If dissatiified wit/r this respo11se, you may appeal to the Regio11a/ Director. Your appeal must be recei ,ed i11 tlte Regio11a/ Office withi11 10 caleudo " 2 . ' D l u f ~tis r~       "l f
ORIGINAL: RETURN TO INMATE                                                                                                CASE NUMBER : /                        '-1"'       - \- L-
                                                                                                                          CASE N UMB ER: _ _                 _ _ _ __                _     _
 Part C- RECEIPT
Return to:
                          LAST NAM l3, FlRST, MIDDLE INITl AL                                      REG. NO.                            UNIT                       I NSTITUTION

SUBJECT: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                    DATE                                                                        REC IPIENT'S SIGNATURE (STAFF M EM OER)
                                                                                                                                                                              BP-229(13)
 USP LVN                                                                                                                                                                      APRIL 1982
Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 35 of 45




  BP-229 RESPONSE                                Case Number : 1020737-F2

  This is in response to your request for Administrative Remedy received
  on May 29 , 2020 , wherein you appeal the denial of your request for a
  Compassionate Release or release to home confinement due to the
  COVID-19 pandemic .

  Title 18 of the United States Code , section 3582 (c) (1) (A) , allows a
  sentencing court , on motion of the Director of the BOP , to reduce a
  term of imprisonment for extraordinary or compelling reasons . BOP
  Program Statement No . 5050 . 50 , Compassionate Release/Reduction in
  Sentence : Procedures for Implementation of 18 U. S . C. §§ 3582(c) (1) (A)
  and 4205(g) , provides guidance on the types of circumstances that
  present extraordinary or compelling reasons , such as the inmate ' s
  terminal medical condition; debilitated medical condition ; status as a
  "new lawu elderly inmate , an el derly inmate with medical conditions ,
  or an "other elderly inmateu ; the death or incapacitation of the
  family member caregiver of the inmate' s child; or the incapacitation
  of the inmate ' s spouse or registered partner .

  Additionally , current law and recent guidance from the U. S . Attorney
  Genera l directs the Bureau of Prisons to maximize the use of home
  confinement in appropriate cases , consistent with Bureau of Prisons
  policy , the needs and safety of each inmate , and in consideration of
  the safety of the community .

  A review of this matter revealed you were notified in writing that you
  do not meet the criteria for transfer to home confinement under the
  CARES Act , or for Compassionate Release .

  The BOP is taking extraordinary measures to contain the spread of
  COVID-19 and treat any affected inmates . We recognize that you , li ke
  all of us , have legitimate concerns and fears about the spread and
  effects of the virus . However , your concern about being potentially
  exposed to , or possibly contracting , COVID-19 does not currently
  warrant an early release from your sentence or a designation to home
  confinement . Accordingly , your RIS request and your request for
  placement on home confinement were denied .

  Accordingly , your Request for Administrative Remedy is denied . In the
  event you are not satisfied with this response and wish to appeal , you
  may do so within 20 calendar days o f the date of t h is response by
  submitting a BP-230(13) to the Regional Director , Federal Bureau of
  Prisons , North Central Regional Office , Gateway Complex , Tower II , 8th
  Floor , 400 State Avenue , Kansas City , Kansas 66101-2492 .




  B~               rden                               Dale
          Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 36 of 45
.,   ..

          May 19 , 2020

          John Van Wu #44803-013

          Appealing for home confinement under BOP Program Statement N0#5050 . 50
          Compassionate Release/Reduction in Sentence procedure for i ~plementation of
          18 U.S.C . 3582(c)(l)(A) and 4205(g) and CARES Act.

          Dear Sir or Madam,
              I am writ ing to request an immediate release to home confinement, under
          the BOP Program Statement No#5050 . 50. along with CARES act , passed on March
          27, 2020 and in accordance with the latest directive from BOP Assistant
          Director for the Reentry Services Division, in a memo dated 4/23/20.         In
          reference with CDC risk guidelines , I have the following health conditions:

          1. I will be 51 years old in 45 days . I have suffered from Chronic Lung
          disease with Asthma and past TB infection since childhood . I have to use
          inhalers , Prednisone steroid , and breathing machine at various times in order
          to breathe properly. I have been treated for Respiratory infection 4 times
          within the last 6 months .      My last Respiratory infection was treated on
          February 5 ,     2020 with Bae trim {Sulfamethoxazole/Trimeth 800/ 160 Mg) ,
          Ciprofloxacin 500 Mg, and Prednisone 10 Mg by Dr . Oba, Mr . Cordova , and Dr .
          Johnson . A few days ago , the doctor have to increasing my Asthma medication
          with Mometasone Furoate 220 Meg to 3 times daily on April 28, 2020 . Dr . Oba
          and Mr . Cordova also have put me on Albuterol inhaler to help my Asthma
          condit ion. I ' m still having difficulty of breathing with shortness of breath
          with the additional medication twice daily.

          2 . I have Type 2 Diabetes and was taking Metformin 500 Mg twice daily, which
          I ' m temporary stop the medication after I have losses 30 pounds of weight.

          3. I have CAD heart disease with high blood pressure and take 81mg of Aspirin
          and stop taking my Lisinopril daily a few month ago by the doct or after my
          blood pressure is improving with low salt diet and daily exercise

          4 . I am also suffering from arthritis of the lower back and right hip and
          taking Ibuprofen 400 Mg twice daily along with Acetaminophen 325 Mg twice
          daily .

          5 . I have sleep apnea . I have asked medical for a CPAP machine. I stop
          breathing while sleeping. My cell mates sometimes wake me up t o make sure
          that I resume breathing . My respiratory illness could be fatal, given this
          condition with increase risk for COVID-19 infection.

          The CDC guideline indicates that the highest comorbidity factors among
          inmates who have died in federal prisons from the COVID-19 virus are Chronic
          respiratory disease and high blood pressure . According to the CDC, this puts
          me at an extremely high risk , especially when compounded by diabetes . As a
          Medical physician , I am very concern that my chronic health condition put me
          in a high-risk category for COVID-19 , and I ' m afraid that if I catch it, I
          will die.
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I meet all of the guidelines for release to home confinement, as set forth in
the 4/23/20 memo, except I haven't served 50% of my sen~ence. In that same
memo, the Assistant Director prov ided for the protection of thos e of us who
have c ritical vulnerability factors but who don't meet the 50% gu ideline . In
the memo, the Assistant Director said, "If the Warden det e rmines that there
is a need to refer an inmate for place ment in the community due to risk
factors , or as a population management strategy during the pandemic, however ,
the inmate does not meet the above listed criteria, a packe t should be
forwarded to the Correctional Programs Division for further review. Packets
should be sent to BOP-CPD/Assistant Director from the Warden's mai lbox ."

It is my understanding that FCI Engl ewood has at least one staff me mber who
has tested positive for COVID-19 and several others in quarantine who may
have been exposed to the virus . I hope it is abundantly clear to you , as he
who holds our lives in his hands, that i f vulne rable inmates are not released
now, it could cost us our lives .

I would appreciate you doing everything within your power to discharge your
duty to protect my health and well-being .         While incarcerated, I have
completed 7 adult Continuation Eck1cation (ACE) programs. I have maintained
e xemplary conduct throughout incarc e ration. I have volunteer to help other
inmates in getting the ir GED certificate and tutoring inmates in Re-e ntry
progranm and parti cipation in First Step Ac t Program .

I have a reentry plan to live with my wife and four childr e n in our home at
810 Kachina Circle in Golden, Colorado 80401. I have a job with GSI
Enterprises whe re I will work from home offic e to manage and ~onsu lting with
administrative duty.    I have Insurance coverage throught Cigna Health
Insurance coverage provide through my wi fe company.

    Thank you for your cons.idera tion and urgent action. I am pleading for
your decision during these challenging time and rele ase me to home
confinement so I can be with my family .

Sincerely,
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    INMATE Wu , John van
    Reg. No . 44803-013
    Unit Camp


     INMATE REQUEST TO STAFF MEMBER

    You reguest_ed a reduct ion in sentence ( RIS) based on concerns
    about COVID-19 . After careful consid eration , your request is
    denied.

    Title 18 of the United States Code , section 3582 (c) (1) (A) ,
    allows a sentencing court , on motion of the Director of the BOP,
    to reduce a term of imprisonment for extraordinary or compelling
    reasons.     BOP Program Statement No . SOSO . SO , Compassionate
    Release/Reduction in Sentence: Procedures for Implementation of
    18 U.S . C . §§ 3582{c ) (1) {A) and 4205(9), provides guidance on the
    types of circumstances that p r esent extraordinary or compelling
    reasons , such as t h e inmate's terminal medical condition ;
    debilitated medical condition ; status as a "new law" elderly
    inmate, an elderly inmate with medical conditions , or an "other
    elderly i nmate"; the death or incapacitation of the family
    member caregiver of the inmate ' s child; or the incapacitation of
    the inmate's spouse or registered partner.         Your request has
    been eva l uated consistent with this general guidance.

    The BOP is taking extraordinary measures to contain the spread
    of COVI D- 1 9 and treat any affected inmates . We recognize that
    you , li k e all of us, have legitimate concerns and fears about
    the spread and effects of the virus.     However, your concern
    about being potentially exposed to , or possib l y contracting,
    COVID-19 does not currently warrant an early release from your
    sentence . Accordingly, your RIS requesc is denied at this time.

    I f you are not satisfied with t h is response t o your request , you
    may commence an appea l of this decision via the administrative
    remedy process by submitting your concerns on the appropriate
    form (BP-9) within 20 days of the receipt of this response .




    8 .-Greilick, Warden
        Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 39 of 45
                             e                                                        R~onal Administrative Remedy Appeal
Federal Bureau of Prisons

Type or u,c ball- point pen. If auachmcnh a re needed, , ubmit four cop,ei.. One copy of the completed BP- DIR 9 including nny attachment, mw.l be suhmllled
with this appeal.

From: _ _ _t',
           JO
            _r_     I _ _ _ _ _ _ _ _ __
                V /._
              I _                                                              44 Ol ll                             r    rs
                    LAST NAME, FIRST, M IDDLE INITIAL                                 REG. NO.                          UNIT                      INST ITUTION

Part A-REAS0 1 FOR APPEAL
         t,a            1020737-P2 f or            couf.11M=titnt  er      progr           t Bo. ,oso.50
  Coapa   t out• •leue/                   ta     ntoac•• Procedure for Iapl ntatf.on of 18 u.s.c.
  3S82(c)(l)(A) end 4250          wv=o A.ct .     1 am writing to t"eque t an 1ma diate rel a    t() home
  confinemant, under th BOP Pro ra Stat ent o. SO.S0.50. long with CA.RBS Act, pass d on
  March 27, 2020 nd in ccordance with the latest dlr ctive frous BOP                siotaut Dir ctor for
  th Reentry Services Divisi~n, in                  ecno d ted 4/23/20.    In reference vith CDC risk
   uid lines, I ba..        f olJ..G;n.oi« llealt COlldit.tona indicat a that th• hi      t r It f ton
  mao'CS incatee who bav die4 in• ral Pr                 fr0& the COVID-19 infection are    Cbrotdc l.U3lg
  41..aae with Aat      and TB infection since childhood, Coronary (heart) Artery Diseaa (CAD)
  with high blood preaaure (Rypertcnatoa), high level of C-                        ctiv• Prot in. high
  Tri lyceride•, Typ 2 Diabetes            lilt     and oth r     dical condition listed on my edical
  record on      7 2020.   FCI     lewood was :rec ntly hav 4        cn,uan of COVI1>-1'     te
  Inf c t1on a1M1 ac le t oa.e staff ne:~r who waa tested po itive for COVID-19 nd several
  other in qu rantin who       y have heen expos d to th virus. I ac pl adina to tho Bureau Of
                vi v my upd t    dical health r cord bi tory f ro Kay 12 t o May 28, 2020, and
                  lease a to ho     conftn•~•nt and I have fullv e t   ed 11 t       iniotrative
                                                 I          )                                                      SIGNATURE. OF R)iQUESTER

Part B-RESPONSE




                 DATE                                                                                                   REGIONAL DIRECTOR
lrtiissat1sticd with this response. you may appeal   10   the General Coun,cl. Your appeal must be received in the General Coun-.cl', Office " 'tthm 30 calendar
day, of the date of this rc,ponsc.
rHIRD C'OPY· WARDFN'S ADM! ISTRATIYE REMEDY FILE                                                                 CASE NUMBER:           \   lJ   }L } .,, /      t"\ \
------------------------------------------------------------'-
Part C- RECEIPT
                                                                                                                 CASE NUMBER : _ _ _ _ _ _ _ __
Return to: _ _ __ __ __ _ _ _ _ _ _ _ _ __
                        LAST NAME, FIRST. MTDDLE INITIAL                                   REG. NO.                        UNTT                      INSTITUTION

SUBJECT
                                                                                                                                                              BP-230(13)
USP LVN          DATE                    Previous editions not usable                   SIGNATURE. RECIPIENT OF REGIONAL APPEAL                               APRIL 1982
Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 40 of 45


        RE: JOHN VAN WU #44803-0 13                June 15 ,' 2020

        Appealing ~OP case #1020737-F2 for home confinement under BOP program Statement No. SOSO.SO
        Compassionate Releas e/Reduction in Sentence: Procedure for Implementation of 18 U.S.C.
        358i ( c ){l)(A) and 4250 and CARES Act.

        Dear Sir or Madam,

              I am wri ting to request an immediate release t o home confinement, under the BOP Program
        Statement No. SOSO.SO . along with CARES Act, passed on Mar ch 27, 2020 and i n accordance with
        the latest direct i ve from BOP Assistant Director f or the Reentry Services Division, in a memo
        dated 4/13/20. In reference with CDC risk guidelines, I have the following health conditions
        indicat es that t he highest risk factors among inmates who have died i n Federal Prison from
        the COVID-19 infection are my Chronic lung diseas e with Asthma and TB infection since
        childhood, Coronary (heart) Artery Disease (CAD) with high blood pressure {Hypertension),
        high level of C- Reactive Protein, high Tr iglycerides , Type 2 Diabetes Mellitus and other
        medical conditions listed on my medical record on May 2020. FCI Englewood was recently have
        4 nelil cases of COVID-19 inmates infection and at least one s taff member who was tested
        positive for COVID-19 and several ot hers in quarantine who may have been exposed to t he
        virus .   I am pleading t o the Bureau Of Prison to revi ew my update medical health record
        history from May 12 to May 28, 2020, and immedi ately release me to home confinement and I
        have ful ly exhausted all the administrative remedy .

               Section 3582(c)(l)(A) also provides in pertinent part :
        The Regional Director or Gener al Co unsel may reduce the term of imprisonment (and may impose
        a term of pr obation or supervised relase wit h or without conditions t hat does not exceed the
        unserved por t ion of the original term of imprisonment ) , after considering t he factors set
        for t h in section 3553(a) to t he extent t hat they are applicable, if it finds t hat ---
               (i ) extraordinary and compelling reasons warrant such a reduction; and t hat such a
        reduction is consistent with applicable policy statements issued by the Sent encing
        Commission .

        The HEROES Act passed last week was stated t hat during the COVI D- 19 pandemic : Require that
        juveniles, people 50 years of age or over, people with medical conditions that increase their
        risk of harm f rom COVID- 19, and people wit hin 12 mon ths of r elease from incarceration all be
        releas ed to community supervision unl ess there is clear evidence that the pe r son poses a risk
        of violence . Eliminate the 30-day waiting period to file a mot i on for Compassionate Release
        in Fede r al Court, and provide counsel and a presumption of release to people seeking
        compassionat e releas~ .

        According to other Compassionate Release cases in all other districts , after 30 days from the
        time an original request for Compassi onate Release is request to the Warden, a petitioner may
        directly move the sentencing court for relief. On Apr i l 2, 2020, I requested Compassionate
        Release due to my Medical Condit ions and have been overl ook and then denied wi th no clear
        explanation.   I am moving this to your Court for Relief due to the extraordinary and
        compelling circumstances tha t prevail due to a COVID- 19 Pandemi c .

        In the case of United St a t e v . Hak.i.Ja, No . 4:05- cr-40025-LLP (D . S. D. Apr. 6, 2020) . Judge
        Pier sol reducing sentence by an extra 40 months under t he Fir st Step Act in light of the
        extreme danger posed by COVID- 19 .

        United St ates v . Fost er , No . l : 14-cr-324-02, Dkt . No . 191 (M. D. Pa Apr . 3, 2020) . Judge
        Jones granted defendant ' s Compassionate Release pursuant to 18 U. S. C. 3582(c)(l)(A), not i ng
        the "unpredented" c i rcumstance facing "our prison system" and finding that COVID-19 is an
        ex t raordinary and compel ling basis for release .

        United States v . Zukerman, No . l : 16-cr--194- AT, (S . D. N. Y Apr. 3, 2020) . Judge Torres waived
        exhaustion requirements and granted immediately compassiona t e relaease in light of COVID-1 9
        t o defendant convi cted in a multi- million dollar fraud scheme motiva t ed by greed.           "The
        severity of Zukerman' s conduct remains unchanged.              \.That has changed, however, is the
        environment where Zukerman is serving his sentence . \.Then the Court sent enced Zukerman, the
        Court did not int end for that sentence to 'include a great and unforeseen risk of severe
        illness or death ' brought on by global pandemic .

        United States v . Resnik, No . 14-cr-910 {CM), 2020 WL 1651508 (S . D. N. Y. Apr.2, 2020) . Chief
        Judge Colleen held Releasing a pri.soner who is for all practical purposes des erving of
        compassionate rel ease during normal times is all but mandated in the age of COVID- 19.
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       1. I ,..ill be 5 1 years old in 17 days. I have suffer ed from Chronic Lung dis eas e with Asthma
       and past TB infection since childhood with positive PPD with 15 mm reaction .on 10/ 24 /19. I
       have to use inhalers, Prednisone steroid, and breathi ng machine at various time~ in order t o
       breathe properly. I have been treated for Respiratory infection 4 times within the last 6
       months.     My last Lung infection was t1:eated on February 5 ,            2020 with Bactrim
       (Sulfamethoxazole/Trimeth 800/160 Mg), Ciprofloxacin 500 Mg , and Prednisone 10 Mg by Dr . Oba ,
       ~r. Cordova, and Dr. Johnson. On May 12, 2020, the doctor have to increasing my Asthma
       medication with Mometasone Furoate 220 Meg co 3 times daily. Dr . Oba and ~Ir. Cordova also
       have put me on Albuterol inhaler to help my Asthma condition. I'm still having difficulty of
       breathing with shortness of breath with the additional medication t wice dail y . ( See At tached
       Updat e medical record and Lab results on May 12 to May 28, 2020)

       2 . I have Type 2 Di abetes Mellitus and was taking Netformin 500 Mg twice daily, which I ' m
       tempora1:y stop the_ medication due to side etfect of medication with constant dizziness and
       headache with rapid weightloss of 30 pounds. My recent blood test at BOP Englewood on Kay
       27, 2020 was s t il~ high at 154 and Hemoglobin AlC level high a t 6.3 .
       3 . I have Coronary (heart) Artery Disease (CAD)is the leading cause of death with high level
       of C-Reactive Protein (CRP), high Triglycerides and high blood pressure (Hypertension) 133/93
       on May 12 , 2020 and taking 81mg of AcetylsaJ.icylic . Ri s k fac t or s £01: CAD are the same as
       those for artherosclerosis : low blood levels of high- density lipoprote:!,n(RDL) cholesterol ,
       diabetes melli t us (particularly type 2) . High blood levels of C-Reactive Protein on May 21,
       2020 indicate plaque instability and inflammation and may be a stronger predictor of risk of
       ischemic events and HEART ATTACK. (see attached Medical MERCK Manual Reference 18th Edition.)

       4. I am also suffering from Arthritis of the lo~er back and right hip and taking Ibuprofen
       400 Mg twice daily along with Acetominophen 325 Mg twice daily .

       5 . I have s l.eep apnea. I have asked medical for a CPAP machine . I stop breathing while
       sleeping . My cell mates sometimes wake me up to make ~ure that I resume breathing. My
       respirat ory illness could be f atal, given this condition will increase risk COVID-19
       infection.

       6 . Liver Disease with Past Hepatitis B infection and recent blood test on May 21, 2020 with
       high Alanine aminotransfererase (ALT) enzyme leak from damaged liver cells, making them
       sensitive indicators of liver injury . (s,ee attached MERCK Manual Refer ence . )

       The CDC gu'idel ine indicates t hat the highest comorbidity fac t ors among inmates who have died
       in Federal prisons from the COVID- 19 virus are Chronic Lung disease 34 . 6% and high blood
       pressure (Uypertension) 49.7% (SEE attached CDC & OSA TODAY ~EWSPAPER DATA) especially when
       compounded by Diabetes 28 . 3% . According to the CDC guidelines, this puts me at an extre me ly
       high risk of MORTALITY over 90%. I am very concern that my chronic health condition put me
       in a high-risk category for COVID-19, and I ' m afraid that if I catch it, I wi l l Die.

       I meet al.l. of the guidelines for release t o home confinement , as set forth in the 4/23/20
       memo, I have served over 15 months jail time except I haven't served 50% of my sentence. In
       chat same cemo, the Assistant Director provided for the protection of those of us who have
       critical vulnerabil ity factors but who don ' t meet the 50% guideline . It is my understanding
       that FCI Engl.evood was recently have 4 n e w cases of COVID-19 inmates i nfection and at least
       one staff member who has tested positive for COVID-19 and several ochers in quarant ine who
       may have been exRosed to the virus. I hope it is abundantly clear to you, as he who holds our
       lives in his hands, t hat if vulnerabl.e inmate s are not released now, i t could cost us our
       live s. I would appreciate you doing everything within your power to protect my heal th and
       well-being.
       I am not violen t with a minimum PATTERN score . I have completed 7 adult Continuation
       Education (ACE) programs . I have maintai ned exemplary conduct throughout incarceration. I
       have volunte er co help othe! inmates in getting their GED certificate and tutoring inmates in
       Re-entry progranm and participation in First Step Ac t Program. I have a reentry plan to live
       with my wife and four children in our home at 810 Kachina Circle in Golden, Colorado 80401 . I
       have a job with GSI Enterprises where I will work from home office to manage and consulting
       with administrative duty . I have Insurance cove rage provide through my wife company. Thank
       you for your consideration and urgent action. I am pleading f o1: your decision du~ing these
       challenging time and release me to home confinement to protect my health and well-bei ng . My
       greatest desire is to be home with my children. It would be devastating co them if I were to
       Contract COVID-19 and die, leaving them fatherless .
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    Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 42 of 45



 U.S.' Department of Justice
.federal Bureau of Prisons                                 Regional Administrative Remedy Appeal
 North Central Regional Office                                                   Part B - Response



Administrative Remedy Number: 1020737-R 1


This is in response to your Regional Administrative Remedy Appeal received in this office on
June 29, 2020, in which you contend you have been inappropriately denied consideration for a
reduction in sentence (RIS). For relief, you request reconsideration for RIS and you request
placement on Direct Home Confinement (HC) due to the COVID-19 pandemic.

We have reviewed your appeal and Warden's response dated June 4, 2020. A request for reduction
in sentence under 18 U.S.C. § 3582 (c)(1)(A) will be considered when there are extraordinary and
compelling reasons which warrant the reduction; there is no danger to the safety of any other person
or to the community, and the reduction is consistent with policy. As indicated in the Warden's
response , your request was evaluated by staff at the Federal Correctional Institution, Englewood,
Colorado. In making the decision, staff thoroughly reviewed your records and found your
circumstances did not meet the policy requirements as outlined in Program Statement 5050.50,
Compassionate Release/Reduction in Sentence: Procedures for Implementation of 18 U.S.C §§ 3582
and 4205 (g).

 Regarding your request for placement in Direct HC, inmates do not need to apply to be considered for
 HC. Unit Team staff are reviewing all inmates to determine eligibility pursuant to the Attorney
 General's memo regarding Prioritization of HC, in light of the COVID-19 pandemic.

 The Federal Bureau of Prisons (BOP) is taking extraordinary measures to contain the spread of
 COVI D-19 and treat any affected inmates. We recognize that you have legitimate concerns and
 fears about the spread and effects of the virus. You are encouraged to follow staff's
 recommendations to prevent the spread of the virus. However, your concerns about being
 potentially exposed to, or possibly contracting, COVID-19 does not warrant an early release from your
 sentence or placement on HC. Accordingly, the institution's decision is supported.

 Based on the above information, your Regional Administrative Remedy Appeal is denied.

 If you are dissatisfied with this response, you may appeal to the Office of General Counsel , Federal
 Bureau of Prisons , 320 First Street, NW , Washington, DC 20534. Your appeal must be received in
 the Office of General Counsel within 30 days from the date of this response .




 Date
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 43 of 45
  FLMCG         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     08-04-2020
PAGE 001 OF                                                        14:07:13
     FUNCTION: L-P SCOPE: CASE EQ 1020737        OUTPUT FORMAT: FULL
-------LIMITED TO SUBMISSIONS WHICH MATCH ALL LIMITATIONS KEYED BELOW----------
DT RCV: FROM __________ THRU __________ DT STS: FROM __________ THRU __________
DT STS: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT RDU
DT TDU: FROM ___ TO ___ DAYS BEFORE "OR" FROM ___ TO ___ DAYS AFTER DT TRT
STS/REAS: ______ ______ ______ ______ ______ ______ ______ ______ ______ ______
SUBJECTS: ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____ ____
EXTENDED: _ REMEDY LEVEL: _ _              RECEIPT: _ _ _ "OR" EXTENSION: _ _ _
RCV OFC : EQ ____        ____       ____       ____       ____       ____
TRACK: DEPT: __________ __________ __________ __________ __________ __________
      PERSON: ___        ___        ___        ___        ___        ___
        TYPE: ___        ___        ___        ___        ___        ___
EVNT FACL: EQ ____       ____       ____       ____       ____       ____
RCV FACL.: EQ ____       ____       ____       ____       ____       ____
RCV UN/LC: EQ __________ __________ __________ __________ __________ __________
RCV QTR..: EQ __________ __________ __________ __________ __________ __________
ORIG FACL: EQ ____       ____       ____       ____       ____       ____
ORG UN/LC: EQ __________ __________ __________ __________ __________ __________
ORIG QTR.: EQ __________ __________ __________ __________ __________ __________




G0002       MORE PAGES TO FOLLOW . . .
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 44 of 45
  FLMCG           *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *    08-04-2020
PAGE 002 OF       *             FULL SCREEN FORMAT             *    14:07:13


REGNO: 44803-013 NAME: WU, JOHN
RSP OF...: ENG UNT/LOC/DST: CAMP                 QTR.: C05-001L    RCV OFC: ENG
REMEDY ID: 1020737-F1      SUB1: 13LM SUB2:      DATE RCV:    05-19-2020
UNT RCV..:CAMP           QTR RCV.: C05-004U      FACL RCV: ENG
UNT ORG..:CAMP           QTR ORG.: C05-004U      FACL ORG: ENG
EVT FACL.: ENG    ACC LEV: ENG 2 NCR 1              RESP DUE:
ABSTRACT.: COVID19 HOME CONFINEMENT REQUEST
STATUS DT: 05-19-2020 STATUS CODE: REJ STATUS REASON: IAT RSF OTH
INCRPTNO.:            RCT:   EXT:   DATE ENTD: 05-19-2020
REMARKS..: YOU DID NOT PROVIDE A COPY OF YOUR HOME CONFINEMENT
           (COVID-19)-DENIAL LETTER



REGNO: 44803-013 NAME: WU, JOHN
RSP OF...: ENG UNT/LOC/DST: CAMP                 QTR.: C05-001L   RCV OFC: ENG
REMEDY ID: 1020737-F2      SUB1: 13LM SUB2:      DATE RCV:   05-19-2020
UNT RCV..:CAMP           QTR RCV.: C05-004U      FACL RCV: ENG
UNT ORG..:CAMP           QTR ORG.: C05-004U      FACL ORG: ENG
EVT FACL.: ENG    ACC LEV: ENG 2 NCR 1              RESP DUE: MON 06-08-2020
ABSTRACT.: COVID19 HOME CONFINEMENT REQUEST
STATUS DT: 06-04-2020 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT:   DATE ENTD: 05-29-2020
REMARKS..:




G0002         MORE PAGES TO FOLLOW . . .
  Case 1:18-cr-00293-RBJ Document 181-1 Filed 08/07/20 USDC Colorado Page 45 of 45
  FLMCG         *ADMINISTRATIVE REMEDY GENERALIZED RETRIEVAL *     08-04-2020
PAGE 003 OF 003 *             FULL SCREEN FORMAT             *     14:07:13


REGNO: 44803-013 NAME: WU, JOHN
RSP OF...: ENG UNT/LOC/DST: CAMP                 QTR.: C05-001L   RCV OFC: NCR
REMEDY ID: 1020737-R1      SUB1: 13LM SUB2:      DATE RCV:   06-29-2020
UNT RCV..:CAMP           QTR RCV.: C05-001L      FACL RCV: ENG
UNT ORG..:CAMP           QTR ORG.: C05-004U      FACL ORG: ENG
EVT FACL.: ENG    ACC LEV: ENG 2 NCR 1              RESP DUE: FRI 08-28-2020
ABSTRACT.: COVID19 HOME CONFINEMENT REQUEST
STATUS DT: 07-24-2020 STATUS CODE: CLD STATUS REASON: DNY
INCRPTNO.:            RCT: P EXT: P DATE ENTD: 06-29-2020
REMARKS..:




                 3 REMEDY SUBMISSION(S) SELECTED
G0000       TRANSACTION SUCCESSFULLY COMPLETED
